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Form NTCTWAP
                                   UNITED STATES BANKRUPTCY COURT
                                     California Northern Bankruptcy Court

In Re:
PG&E Corporation Debtor(s)                                    Bankruptcy Case No.: 19−30088
                                                              Chapter: 11
JH Kelly, LLC Plaintiff(s)
vs.
AECOM Technical Services, Inc. Defendant(s)                   Adversary No. 20−03019


                    TRANSMITTAL OF DOCUMENTS: WITHDRAW OF REFERENCE

Pursuant to Bankruptcy Local Rule 5011−2(a), copies of the following documents are hereby
transmitted to the District Court for the above referenced adversary proceeding:

    Motion to Withdraw the Reference
                                                                                                  FILED
    Memorandum in Support of Motion to Withdraw the Reference                                        Aug 04 2020
    Declaration in Support of Motion to Withdraw the Reference
                                                                                                  SUSANY. SOONG
    Bankruptcy Docket Sheet                                                                  CLERK, U.S. DISTRICT COURT
    Recommendation of Bankruptcy Judge pursuant to B.L.R. 5011−2(b)                       NORTHERN DISTRICT OF CALIFORNIA
    Certification pursuant to B.L.R. 9015−2(b) − Jury trial demand                                    OAKLAND

    Certification pursuant to B.L.R. 9015−2(d) − Personal injury tort/wrongful death claim
    Adversary Proceeding Complaint

          Order Approving Stipulation to Consolidate Adversary Proceeding No. 19−3008 with Adversary
   Other: Proceeding No. 20−3019


Please acknowledge receipt of this Transmittal by returning a copy to the Bankruptcy Court showing
the District Court case number.

Dated: 7/30/20
                                                 Edward J. Emmons
                                                 Clerk of Court
                                                 United States Bankruptcy Court


                                                 By: DaWana Chambers
                                                       Deputy Clerk


For District Court Use Only
                                          4:20-cv-05381-HSG
DISTRICT COURT CASE NUMBER: ________________________________________
        08/04/2020
Date: __________________________________

        Jessie Mosley, Deputy Clerk
By: ____________________________________




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 1    ERIC A. GRASBERGER (pro hac vice)         DAVID B. LEVANT (pro hac vice)
      eric.grasberger@stoel.com                 david.levant@stoel.com
 2    MARIO R. NICHOLAS (SB #273122)            STOEL RIVES LLP
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 4    Portland, OR 97205                        Facsimile: 208.389.9040
      Telephone: 503.224.3380
 5    Facsimile: 503.220.2480
 6    Attorneys for JH Kelly, LLC

 7

 8

 9                           UNITED STATES BANKRUPTCY COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12    In re                                          Bankruptcy Case No. 19-30088 (DM)
13    PG&E CORPORATION
                                                     Chapter 11
             – and –                                 (Lead Case)
14                                                   (Jointly Administered)
      PACIFIC GAS AND ELECTRIC
15    COMPANY,                                       Adversary Case No. 20-03019 (DM)
         Debtors.
16
                                                     Adversary Case No. 19-03008 (DM)
17    JH KELLY, LLC, a Washington limited
      liability company,                             JOINT MOTION FOR PERMISSIVE
18         Plaintiff,                                WITHDRAWAL OF THE REFERENCE
                                                     OF CONSOLIDATED PG&E
19               v.                                  ADVERSARY PROCEEDING
      AECOM TECHNICAL SERVICES, a
20    purported California Corporation, and
      DOES 1 through 10, inclusive,
21
           Defendants.
22
      JH KELLY, LLC, a Washington limited
23    liability company,
           Plaintiff,
24
                  v.
25    PACIFIC GAS AND ELECTRIC
      COMPANY, and DOES 1 through 10,
26    inclusive,
27         Defendants.

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 1          Defendant, Third-Party Defendant, Debtor and Debtor-in-Possession Pacific Gas & Electric
 2   Company (“PG&E”), Plaintiff and Counter-Defendant JH Kelly, LLC, and Defendant, Counter-
 3   Claimant, and Third-Party Plaintiff AECOM Technical Services, hereby jointly move the United
 4   States District Court for the District of Northern California pursuant to 28 U.S.C. § 157(d) and Fed.
 5   R. Bankr. Proc. 5011(a) to withdraw the reference of the above-captioned consolidated adversary
 6   proceedings (the “Consolidated Adversary Proceeding”) from the United States Bankruptcy Court
 7   for the District of Northern California.
 8          This Motion is based on the pleadings in the Consolidated Adversary Proceeding, filings
 9   related to PG&E’s bankruptcy case, and the Memorandum in Support of Joint Motion for
10   Permissive Withdrawal of the Reference of Consolidated PG&E Adversary Proceeding filed
11   concurrently herewith.
12                                        [signatures on next page]
13

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 1                    [Signature page of Joint Motion for Permissive Withdrawal
 2                          of the Consolidated PG&E Adversary Proceeding]
 3
     Dated: July 28, 2020
 4                                                    STOEL RIVES LLP
 5
                                                      By:    /s/ David B. Levant
 6                                                           David B. Levant
                                                             Eric A. Grasberger
 7                                                           Mario R. Nicholas
 8                                                    Attorneys for Plaintiff and Counter-
                                                      Defendant JH Kelly, LLC
 9

10
     Dated: July 28, 2020
11                                                    WEIL, GOTSHAL & MANGES LLP
12                                                    KELLER BENVENUTTI KIM LLP
13
                                                      By:    /s/ Peter J. Benvenutii
14                                                           Theodore E. Tsekerides
                                                             Peter J. Benvenutti
15
                                                      Attorneys for the Debtors and Debtors in
16                                                    Possession, as Defendant and Third-Party
                                                      Defendant
17

18

19   Dated: July 28, 2020
                                                      REED SMITH LLP
20
                                                      PEPPER HAMILTON LLP
21

22                                                    By:    /s/ Marsha A. Houston
                                                             Marsha A. Houston
23                                                           Christopher O. Rivas
                                                             Marion T. Hack
24                                                           Luke N. Eaton
25                                                    Attorneys for AECOM Technical Services,
                                                      Inc.
26

27

28

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                                                                          June 29, 2020
                                                                          EDWARD J. EMMONS, CLERK
                                                                          U.S. BANKRUPTCY COURT
                                                                          NORTHERN DISTRICT OF CALIFORNIA


                              1   WEIL, GOTSHAL & MANGES LLP                Signed and Filed: June 29, 2020
                                  Stephen Karotkin (pro hac vice)
                              2   (stephen.karotkin@weil.com)
                                  Theodore Tsekerides (pro hac vice)
                              3   (theodore.tsekerides@weil.com)
                                  Jessica Liou (pro hac vice)
                              4   (jessica.liou@weil.com)
                                  Matthew Goren (pro hac vice)              ________________________________________
                              5   (matthew.goren@weil.com)                  DENNIS MONTALI
                                  767 Fifth Avenue                          U.S. Bankruptcy Judge
                              6   New York, NY 10153-0119
                                  Tel: 212 310 8000
                              7   Fax: 212 310 8007
                              8   KELLER BENVENUTTI KIM LLP
                                  Tobias S. Keller (#151445)
                              9   (tkeller@kbkllp.com)
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                                  650 California Street, Suite 1900
                             12   San Francisco, CA 94108
                                  Tel: 415 496 6723
Weil, Gotshal & Manges LLP




                             13   Fax: 650 636 9251
 New York, NY 10153-0119




                             14
      767 Fifth Avenue




                                  Attorneys for Debtors and Debtors in
                                  Possession
                             15
                                                            UNITED STATES BANKRUPTCY COURT
                             16                             NORTHERN DISTRICT OF CALIFORNIA
                                                                 SAN FRANCISCO DIVISION
                             17
                                   In re                                        Bankruptcy Case No. 19-30088 (DM)
                             18
                                   PG&E CORPORATION                             Chapter 11
                             19                                                 (Lead Case)
                                   - and -                                      (Jointly Administered)
                             20
                                   PACIFIC GAS AND ELECTRIC                     Adversary Proceeding No. 20-03019 (DM)
                             21    COMPANY,

                             22              Debtors.
                                   JH KELLY, LLC, a Washington limited          ORDER APPROVING STIPULATION TO
                             23    liability company,                           CONSOLIDATE ADVERSARY
                                                                                PROCEEDING NO. 19-03008 WITH
                             24              Plaintiff,                         ADVERSARY PROCEEDING
                                                                                NO. 20-03019
                             25              v.
                             26    AECOM TECHNICAL SERVICES, a
                                   purported California Corporation, and DOES
                             27    1 through 10, inclusive,
                             28               Defendants.

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                              2       JH KELLY, LLC, a Washington limited
                                      liability company,
                              3
                                                Plaintiff,
                              4
                                                v.
                              5
                                      PACIFIC GAS AND ELECTRIC
                              6       COMPANY, and DOES 1 through 10,
                                      inclusive,
                              7
                                                Defendants.
                              8
                                           The Court having considered the Stipulation to Consolidate Adversary Proceeding No.
                              9
                                  19-03008 with Adversary Proceeding No. 20-03019, dated June 26, 2020 [Dkt. No. 15] (the
                             10
                                  “Stipulation”),1 entered into by and between Pacific Gas and Electric Company (the “Utility” or
                             11
                                  the “Debtor”), as debtor and debtor in possession, JH Kelly, LLC, a Washington limited liability
                             12
                                  company (“JH Kelly”), and AECOM Technical Services, Inc., a California corporation
Weil, Gotshal & Manges LLP




                             13
 New York, NY 10153-0119




                                  (“AECOM”); and pursuant to such Stipulation and agreement of the Parties, and good cause
      767 Fifth Avenue




                             14
                                  appearing,
                             15
                                           IT IS HEREBY ORDERED THAT:
                             16
                                           1.        The Stipulation is approved.
                             17
                                           2.        The Adversary Proceedings are consolidated for all purposes, including discovery,
                             18
                                  pretrial proceedings and trial.
                             19
                                           3.        The Transferred Adversary Proceeding (No. 20-03019) is the lead action (the
                             20
                                  “Consolidated Adversary Proceeding”).
                             21
                                           4.        All issues relating to the AECOM Mechanic’s Lien, the AECOM POC and the JH
                             22
                                  Kelly POC shall be addressed and resolved in the context of the Consolidated Adversary Proceeding.
                             23
                                           5.        Any allowed claims against the Utility resulting from the outcome or resolution of the
                             24
                                  Consolidated Adversary Proceeding shall be treated in accordance with the Debtors’ plan of
                             25
                                  reorganization as confirmed by this Court on June 21, 2020 in these Chapter 11 Cases. See Case No.
                             26
                                  19-30088, Dkt. No. 8053 and 8053-1.
                             27
                                  1
                             28     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them
                                  in the Stipulation.

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                              1
                                         6.      The Stipulation is without prejudice to any aspect of the merits of the Adversary
                              2
                                  Proceedings, and nothing therein shall be construed to be a waiver by any of the Parties of any
                              3
                                  claims, defenses, or arguments with respect thereto.
                              4
                                         7.      The Stipulation shall constitute the entire agreement and understanding of the Parties
                              5
                                  relating to the subject matter thereof and supersedes all prior agreements and understandings relating
                              6
                                  to the subject matter thereof.
                              7
                                         8.      The Court shall retain jurisdiction to resolve any disputes or controversies arising
                              8
                                  from the Stipulation or this Order.
                              9
                                  Dated: June 26, 2020
                             10                                                          STOEL RIVES LLP

                             11
                                                                                         By:    /s/ David B. Levant
                             12                                                                 David B. Levant
                                                                                                Eric A. Grasberger
Weil, Gotshal & Manges LLP




                             13                                                                 Mario R. Nicholas
 New York, NY 10153-0119
      767 Fifth Avenue




                             14                                                          Attorneys for JH Kelly, LLC

                             15
                                  Dated: June 26, 2020
                             16                                                          REED SMITH LLP

                             17                                                          PEPPER HAMILTON LLP

                             18
                                                                                         By:    /s/ Marsha A. Houston
                             19                                                                 Marsha A. Houston
                                                                                                Christopher O. Rivas
                             20                                                                 Marion T. Hack
                                                                                                Luke N. Eaton
                             21
                                                                                         Attorneys for AECOM Technical Services, Inc.
                             22
                                                                        *** END OF ORDER ***
                             23

                             24

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 4    Portland, OR 97205                      Facsimile: 208.389.9040
      Telephone: 503.224.3380
 5    Facsimile: 503.220.2480
 6    Attorneys for JH Kelly, LLC

 7

 8

 9                           UNITED STATES BANKRUPTCY COURT
10                          NORTHERN DISTRICT OF CALIFORNIA
11                                  SAN FRANCISCO DIVISION
12
      In re                                        Bankruptcy Case No. 19-30088 (DM)
13
      PG&E CORPORATION
                                                   Chapter 11
14            – and –                              (Lead Case)
                                                   (Jointly Administered)
15    PACIFIC GAS AND ELECTRIC
      COMPANY,                                     Adversary Case No. 20-03019 (DM)
16       Debtors.
17                                                 Adversary Case No. 19-03008 (DM)
      JH KELLY, LLC, a Washington limited
18    liability company,                           MEMORANDUM IN SUPPORT OF
           Plaintiff,                              JOINT MOTION FOR PERMISSIVE
19                                                 WITHDRAWAL OF THE REFERENCE
                 v.                                OF CONSOLIDATED PG&E
20    AECOM TECHNICAL SERVICES, a                  ADVERSARY PROCEEDING
      purported California Corporation, and
21    DOES 1 through 10, inclusive,
22         Defendants.

23    JH KELLY, LLC, a Washington limited
      liability company,
24         Plaintiff,
25                v.
      PACIFIC GAS AND ELECTRIC
26    COMPANY, and DOES 1 through 10,
      inclusive,
27
           Defendants.
28

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 1           Defendant, Third-Party Defendant, and a Debtor and Reorganized Debtor in the above-
 2   captioned bankruptcy cases (the “Chapter 11 Cases”), Pacific Gas & Electric Company (“PG&E”),
 3   Plaintiff and Counter-Defendant JH Kelly, LLC (“JH Kelly”), and Defendant, Counter-Claimant,
 4   and Third-Party Plaintiff AECOM Technical Services (“AECOM,” and together with PG&E and
 5   JH Kelly, the “Parties”) respectfully submit this Memorandum in support of their Joint Motion for
 6   Permissive Withdrawal of the Reference of the Consolidated PG&E Adversary Proceeding (the
 7   “Joint Motion”). In the Joint Motion, the Parties request that the United States District Court for
 8   the District of Northern California (the “District Court”) withdraw the reference of the above-
 9   captioned consolidated adversary proceeding (the “Consolidated Adversary Proceeding”) from the
10   United States Bankruptcy Court for the District of Northern California (the “Bankruptcy Court”)
11   pursuant to 28 U.S.C. § 157(d) and Fed. R. Bankr. P. 5011(a). This District Court has original
12   jurisdiction over the subject claims pursuant to 28 U.S.C. § 1334(b), and although the Consolidated
13   Adversary Proceeding is appropriately before the Bankruptcy Court by referral of the District Court,
14   the reference should be withdrawn as to all of the claims in the Consolidated Adversary Proceeding
15   in the interest of efficiency and judicial economy because non-core issues of state law predominate.
16     I.    BACKGROUND
17           A. The Project
18           The claims in the Consolidated Adversary Proceeding arise out of a construction project
19   (the “Project”) at a PG&E compressor station located near the town of Burney in Shasta County,
20   California (the “Property”) that compresses natural gas to help move it through pipelines that run
21   from Oregon to California. The Project involved the replacement of a gas compressor unit, various
22   upgrades to the compression station, and limited demolition of existing equipment and facilities at
23   the Project site.
24           PG&E hired AECOM as the EPC contractor on the Project pursuant to an “Engineering,
25   Procurement, and Construction of Natural Gas & Electric Transmission and Distribution Facilities
26   Agreement” dated February 11, 2016 (the “EPC Agreement”). The EPC Agreement provided that
27   AECOM was responsible for designing and constructing the Project.
28

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 1          AECOM hired JH Kelly as a subcontractor on the Project pursuant to an “Agreement
 2   Between Design-Builder and Subcontractor (Where Subcontractor Does Not Provide Design
 3   Services), Subcontract No. 60482831-SC-001” dated October 21, 2016 (the “Subcontract”). After
 4   AECOM and JH Kelly entered into the Subcontract, disputes arose between and among PG&E,
 5   AECOM and JH Kelly regarding Project deadlines, delays, payment obligations and related issues.
 6          The Parties dispute responsibility for the Project delays, cost overruns and related issues
 7   and the extent of liability for any damages arising therefrom. JH Kelly believes it is not responsible
 8   for any Project delays or damages and seeks compensation for its work on the Project from AECOM
 9   and, on the basis of a mechanic’s lien, PG&E. AECOM believes it is not responsible for any Project
10   delays or damages and seeks compensation from PG&E and JH Kelly. PG&E denies any
11   responsibility for Project delays or damages, or liability for AECOM’s and JH Kelly’s alleged
12   damages. PG&E also contends that it is entitled to damages from AECOM for delays and
13   defective/incomplete design, procurement and construction with respect to the Project.
14          B. Subsequent Litigation and Bankruptcy Events
15          Following these events, JH Kelly and AECOM filed mechanic’s liens against the Project
16   and JH Kelly commenced a lien foreclosure action against PG&E in California state court; PG&E
17   and its parent (PG&E Corporation) filed these Chapter 11 Cases; on January 29, 2019; JH Kelly
18   and AECOM asserted claims against each other in California state court; and both JH Kelly and
19   AECOM asserted claims against PG&E in the Bankruptcy Court, all as more specifically described
20   in the following paragraphs:
21                  1. Actions Previously Pending in Case No. 20-03019
22
            •   JH Kelly v. PG&E (the “Foreclosure Action”) – On January 25, 2019, JH Kelly
23              filed a Complaint for Foreclosure of Mechanics Lien, initiating the Foreclosure
                Action against PG&E in the Superior Court of the State of California, County of
24              Shasta (the “State Court”). In the Foreclosure Action, JH Kelly alleges it has
                not received payment for labor, services, materials, and equipment provided for
25              the Project, and that it filed and recorded a Claim of Mechanics Lien against the
                Property as document number 2018-0030534 in the official records of Shasta
26
                County on November 1, 2018.
27
                By stipulation of the Parties, on May 5, 2020, the State Court entered an order
28              consolidating the Foreclosure Action with the JH Kelly-AECOM Action,

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 1             described below. On May 15, 2020, PG&E filed a Notice of Removal removing
               the Foreclosure Action and the JH Kelly-AECOM Action to the United States
 2             Bankruptcy Court for the Eastern District of California (the “Eastern District
 3             Bankruptcy Court”). As jointly requested by the Parties, the Eastern District
               Bankruptcy Court then transferred venue of the removed actions to the
 4             Bankruptcy Court on May 19, 2020.

 5         •   JH Kelly v. AECOM (the “JH Kelly-AECOM Action”) – On January 29, 2019,
               JH Kelly filed a separate complaint in the State Court initiating an action against
 6
               AECOM (Case No. 19CV0172) (the “JH Kelly Subcontract Action”). In its
 7             complaint, JH Kelly asserts various claims against AECOM in connection with
               the Project, including breach of contract arising from AECOM’s alleged failure
 8             to remit payments owed to JH Kelly for work it performed on the Project. On
               March 1, 2019, AECOM removed the JH Kelly Subcontract Action to the
 9             Eastern District Bankruptcy Court, the venue of which was then transferred to
               the Bankruptcy Court, establishing adversary proceeding No. 19-03008. On
10
               April 16, 2019, JH Kelly filed a motion to remand the JH Kelly Subcontract
11             Action to State Court, which was granted by the Bankruptcy Court on June 10,
               2019.
12
               On June 28, 2019, while the JH Kelly Subcontract Action was pending in State
13             Court, AECOM filed a Cross-Complaint pleading affirmative actions against JH
14             Kelly for breach of contract, breach of the covenants of good faith and fair
               dealing, negligence and indemnity, and declaratory judgment (the “AECOM
15             Cross-Complaint”, and together with the JH Kelly Subcontract Action, the “JH
               Kelly-AECOM Action”).
16
               As noted above, on May 5, 2020, the State Court entered an order consolidating
17             the Foreclosure Action with the JH Kelly-AECOM Action, described below. On
18             May 15, 2020, PG&E filed a Notice of Removal removing the Foreclosure
               Action and the JH Kelly-AECOM Action to the Eastern District Bankruptcy
19             Court. The Eastern District Bankruptcy Court then transferred venue of the
               removed actions to the Bankruptcy Court on May 19, 2020.
20
                  2. Action Previously Pending in Case No. 19-03008
21

22         •   AECOM v. PG&E (the “Third-Party Complaint”) – On March 22, 2019, while
               the JH Kelly Subcontract Action was pending in the Bankruptcy Court, AECOM
23             filed its Third-Party Complaint Against Pacific Gas and Electric Company. The
               Third-Party Complaint has remained pending in the Bankruptcy Court since that
24             time and is now part of the Consolidated Adversary Proceeding.
25
                  3. Claims Pending in the Chapter 11 Cases in Case No. 19-30088
26
           •   AECOM’s Mechanic’s Lien (the “Mechanic’s Lien Claim”) – On March 22,
27             2019, AECOM filed its Notice of Continued Perfection of Lien in the
               Bankruptcy Court, attaching thereto its mechanic’s lien against the Property in
28

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 1               the amount of $23,535,812.89. The Mechanic’s Lien Claim has remained
                 pending in the Chapter 11 Cases since its filing and, by stipulation of the Parties,
 2               will now be resolved in the context of the Consolidated Adversary Proceeding.
 3
             •   AECOM’s Proof of Claim (the “AECOM POC”) – On October 16, 2019,
 4               AECOM filed a proof of claim in the Chapter 11 Cases. AECOM asserts therein
                 that PG&E owes AECOM an outstanding and unpaid balance of $34,750,867
 5               for work it performed on the Project. The AECOM POC has remained pending
                 in the Chapter 11 Cases since its filing and, by stipulation of the Parties, will
 6
                 now be resolved in the context of the Consolidated Adversary Proceeding.
 7
             •   JH Kelly’s Proof of Claim (the “JH Kelly POC”) – On October 21, 2019, JH
 8               Kelly filed a proof of claim in the Chapter 11 Cases. The JH Kelly POC asserts
                 a secured claim for the full amount of JH Kelly’s alleged mechanic’s lien in the
 9               Foreclosure Action, as well as interest on such claim. Like the AECOM POC,
10               the JH Kelly POC has remained pending in the Chapter 11 Cases since its filing
                 and, by stipulation of the Parties, will now be resolved in the context of the
11               Consolidated Adversary Proceeding.

12           On June 29, 2020, pursuant to a stipulation among the Parties, the Bankruptcy Court

13   consolidated Case No. 20-03019 and Case No. 19-3008, into the Consolidated Adversary

14   Proceeding, with Case No. 20-03019 as the lead case pursuant to its Order Approving Stipulation

15   to Consolidate Adversary Proceeding No. 19-03008 With Adversary Proceeding No. 20-03019

16   [Dkt. No. 16]. As contemplated by their prior stipulation, the Parties now jointly seek to withdraw

17   the reference of the Consolidated Adversary Proceeding to the District Court.

18    II.    LEGAL STANDARDS: WITHDRAWAL OF THE BANKRUPTCY REFERENCE

19           A. Withdrawal of the Bankruptcy Reference Generally

20           Bankruptcy courts are not Article III courts and derive their limited jurisdiction from the

21   United States district courts’ referral of bankruptcy matters.          Specifically, under 28 U.S.C.

22   § 1334(b), United States district courts have “original but not exclusive jurisdiction of all civil

23   proceedings arising under title 11, or arising in or related to cases under title 11.” Under 28 U.S.C.

24   § 157(a), “[e]ach district court may provide that . . . any or all proceedings arising under title 11 or

25   arising in or related to a case under title 11 shall be referred to the bankruptcy judges for the district.”

26   Here, the referral of bankruptcy proceedings to the Bankruptcy Court is made pursuant to the

27   District Court’s Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges and

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 1   Authorizing Bankruptcy Appeals to be Decided by the Ninth Circuit Bankruptcy Appellate Panel,
 2   General Order No. 24, issued on February 22, 2016.
 3          Because the Bankruptcy Court acquires jurisdiction only by reference from the District
 4   Court under 28 U.S.C. § 157(d) and the District Court’s General Order, the District Court may
 5   “withdraw, in whole or in part, any case or proceeding referred under this section, on its own motion,
 6   or on timely motion of any party, for cause shown.” Such discretionary withdrawal by the District
 7   Court is referred to as “permissive withdrawal”.        The party or parties seeking permissive
 8   withdrawal of the reference bear the burden of demonstrating cause. See Everett v. Art Brand
 9   Studios, LLC, 556 B.R. 437, 442 (N.D. Cal. 2016) (quoting Green v. FDIC (In re Tamalpais
10   Bancorp), 451 B.R. 6, 9 (N.D. Cal. 2011)).
11          B. Cause for Permissive Withdrawal; the Orion Factors and Jury Rights
12          In determining whether “cause” exists for permissive withdrawal, “a district court should
13   consider the efficient use of judicial resources, delay and costs to the parties, uniformity of
14   bankruptcy administration, the prevention of forum shopping and other related factors.” See
15   Security Farms v. Int’l Bhd. of Teamsters, Chauffers, Warehousemen & Helpers, 124 F.3d 999,
16   1008 (9th Cir. 1997) (citing In re Orion Pictures Corp., 4 F.3d 1095, 1101 (2d Cir. 1993)) (adopting
17   the so-called Orion factors for determining cause for withdrawal of reference and explaining that
18   withdrawal is appropriate where non-core issues predominate); see also Tamalpais, 451 B.R. at 10
19   (adopting the Orion factors).
20                  1. Efficiency and Core vs. Non-Core Matters
21          The United States Constitution limits the ability of bankruptcy judges to enter final
22   judgments solely with respect to issues that are at the core of the bankruptcy power. In re Harris,
23   590 F.3d 730, 737 (9th Cir. 2009). Core proceedings arise “in a bankruptcy case or under Title 11”
24   and include proceedings related to “matters concerning the administration of the estate” under the
25   “catch-all” provision of 28 U.S.C. § 157(b)(2)(A). Stern v. Marshall, 564 U.S. 462, 476 (2011).
26   The Ninth Circuit narrowly interprets this “catch-all” provision. See In re Castlerock Props., 781
27   F.2d 159, 162 (9th Cir. 1986) (“[S]tate law contract claims that do not specifically fall within the
28   categories of core proceedings enumerated in 28 U.S.C. §§ 157(b)(2)(B)–(N) are related

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 1   proceedings under § 157(c) even if they arguably fit within the literal wording of §§ 157(b)(2)(A)
 2   and (O).”); see also Harris, 590 F.3d at 740 (holding that the “catch-all” provision should be
 3   “interpreted narrowly”).
 4          In contrast, non-core matters are “[a]ctions that do not depend on bankruptcy law for their
 5   existence and that could proceed in another court[.]” Security Farms, 124 F.3d at 1008. An action
 6   is non-core when it is not created by title 11 and does not arise only in title 11 cases, even though
 7   the action may affect the administration of the estate. Everett, 556 B.R. at 443 (citing In re Eastport
 8   Assocs., 935 F.2d 1071, 1077 (9th Cir. 1991)). As to non-core matters, a bankruptcy judge may
 9   only make proposed findings of fact and conclusions of law to the district judge, who reviews all
10   non-core matters de novo. 28 U.S.C. § 157(c)(1).
11          To assess efficiency in assessing whether to withdraw the reference, district courts consider
12   whether the issues over the which the bankruptcy court has core jurisdiction predominate with
13   respect to the underlying claims. See Security Farms, 124 F.3d at 1008. “If the claims sought to be
14   withdrawn are non-core and the Bankruptcy Court cannot enter final judgment, then efficiency
15   generally favors withdrawing the reference.” Everett, 556 B.R. at 443 (citing In re Rosales, No. 13-
16   CV-01316-LHK, 2013 WL 5962007, at *3 (N.D. Cal. Nov. 7, 2013)).
17                  2. Other Orion Factors
18          Apart from efficiency, courts will also look at other factors, including the length of the delay
19   caused by withdrawal, associated costs, whether any party appears to be forum shopping, and the
20   uniform administration of the bankruptcy estate. See Security Farms, 124 F.3d at 1008. Many of
21   these factors are indirectly related to efficiency and whether the claims are core or non-core. For
22   example, forum shopping is not a concern where the district court is the only court with the power
23   to enter final judgment on a claim. See Everett, 556 B.R. at 445-46 (explaining that “forum
24   shopping is not a concern here as only this Court has the power to enter final judgment . . . even if
25   the Bankruptcy Court were to adjudicate those claims, this Court would have to conduct de novo
26   review” in the event of objections). Along similar lines, because district courts have authority to
27   enter final judgments on non-core claims, hearing such claims in district court from the outset
28   prevents delay and minimizes costs. Id. at 445 (citing Rosales, 2013 WL 5962007, at *7).

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 1                   3. Jury Trial Rights
 2           Finally, a party’s right to a jury trial constitutes “cause” for withdrawal of the reference.
 3   See In re Healthcentral.com, 504 F.3d 775, 788 (9th Cir. 2007).
 4   III.    THE DISTRICT COURT SHOULD WITHDRAW THE REFERENCE OF THE
             CONSOLIDATED ADVERSARY PROCEEDING AT THIS TIME
 5
             Applying the legal standards for permissive withdrawal of the reference to the facts of the
 6
     Consolidated Adversary Proceeding and their Joint Motion, the Parties respectfully submit that
 7
     cause exists for withdrawal of the reference in this case, and that withdrawal of the reference should
 8
     occur at this time, with no further proceedings in the Bankruptcy Court relating to the merits of the
 9
     claims to be addressed and resolved in the Consolidated Adversary Proceeding.
10
             A. Withdrawal of the Reference is Appropriate in this Case
11
                     1. Withdrawal of the Reference Would Promote Efficiency
12
             Withdrawal of the reference would promote efficiency because the claims pending in the
13
     Consolidated Adversary Proceeding do not depend on bankruptcy law for their existence and are
14
     non-core matters merely related to the title 11 case that do not arise in or under title 11. See Everett,
15
     556 B.R. at 437 (holding that withdrawal of the reference is appropriate for non-core, state law
16
     claims that are not dependent on bankruptcy law for their existence and could have been brought
17
     in state or federal district court). All of the claims in the Consolidated Adversary Proceeding arise
18
     out of state law contract and property disputes among the Parties related to the Project and must be
19
     decided by applying California law. The Foreclosure Action, the JH Kelly-AECOM Action, and
20
     the Third-Party Complaint are strictly related to state law issues regarding rights to payment under
21
     the EPC Agreement and the Subcontract. Resolution of the AECOM Mechanic’s Lien Claim, the
22
     AECOM POC, and the JH Kelly POC also involve the same substantive California state law issues
23
     that must be litigated in the Foreclosure Action, the JH Kelly-AECOM Action, and the Third-Party
24
     Complaint. Accordingly, all of the issues in dispute between the Parties to be resolved in the
25
     context of the Consolidated Adversary Proceeding relate to non-core, state law matters. A
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 1   consolidated proceeding in an Article III court empowered to enter a final judgment on all of the
 2   involved claims is the most efficient way to decide these disputes.
 3                  2. The Other Orion Factors Support Withdrawal of the Reference
 4           The other Orion factors also favor withdrawal of the reference. None of the actions in the
 5   Consolidated Adversary proceeding have been scheduled for trial so allowing the actions to proceed
 6   in the District Court will not cause any undue delay. Withdrawal of the reference also will avoid
 7   excessive costs because any decision by the Bankruptcy Court would be subject to de novo review
 8   by the District Court. In this case, as in Everett v. Art Brand Studios, “withdrawal will prevent
 9   delay and added costs to the parties by placing the non-core claims in [the district] court, which can
10   render final judgment.” Everett, 556 B.R. at 437.
11           Forum shopping is not a concern here because all of the Parties have joined in the Motion
12   for withdrawal of the reference, and because the District Court is the only court empowered to enter
13   final judgment on the claims. See Tamalpais Bancorp, 451 B.R. at 9 (explaining that a decision on
14   withdrawal of the reference cannot facilitate forum shopping because a district court will need to
15   address the issues either initially or on de novo review of a bankruptcy court decision).
16           Lastly, withdrawal of the reference will not affect the uniform administration of the Chapter
17   11 Cases. Under the terms of PG&E’s confirmed bankruptcy plan, the outcome of the actions in
18   the Consolidated Adversary Proceedings will not affect distributions to creditors of the bankruptcy
19   estate nor will it disturb the administration of the estate, given that PG&E has already emerged
20   from bankruptcy. The Orion factors thus support permissive withdrawal of the reference.
21                  3. Jury Rights Support Withdrawal of the Reference
22           The District Court also should withdraw the reference in this case to preserve the parties’
23   rights to a jury trial. For example, JH Kelly previously timely and properly made a jury demand in
24   the JH Kelly-AECOM Action, where JH Kelly asserts a substantial claim between two non-debtor
25   parties that exists independently from the PG&E bankruptcy case. AECOM agrees with JH Kelly,
26   who also timely made a jury demand, that this case should be tried by a jury. Neither JH Kelly nor
27   AECOM agree to have the Bankruptcy Court enter final judgment on their claims or to conduct the
28   jury trial.

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 1           B. The Court Should Withdraw the Reference at this Time
 2           Finally, the Parties submit that withdrawal of the reference should occur at this time, with
 3   no further proceedings in the Bankruptcy Court.             No purpose would be served by further
 4   proceedings in the Bankruptcy Court. As previously noted, PG&E has confirmed its Plan of
 5   Reorganization and exited chapter 11, so the Chapter 11 Cases will not be affected in any manner
 6   by the outcome of the Consolidated Adversary Proceeding.
 7           Not only would delay in withdrawal of the reference serve no purpose, it would burden the
 8   Bankruptcy Court with a large, fact intensive construction litigation case at a time when, as a result
 9   of the COVID-19 pandemic, the Bankruptcy Court’s docket is likely to be strained by a wave of
10   new bankruptcy filings. Delay in withdrawal of the reference also would require that two judges—
11   both Bankruptcy Judge Montali and the District Court Judge to whom the Consolidated Adversary
12   Proceeding is ultimately assigned—become familiar with the facts of the case and the parties. By
13   withdrawing the reference immediately, the District Court can enhance its knowledge of the case
14   and better assist the Parties in their preparation for trial.
15   IV.     CONCLUSION
16           For the foregoing reasons, the Parties respectfully join in requesting that the District Court
17   exercise its discretion to withdraw the reference of the Consolidated Adversary Proceeding at this
18   time. Withdrawal of the reference will promote efficiency, provide the Parties with their preferred
19   forum, and protect the right to a jury trial without causing any delay or costs, affecting the
20   uniformity of the administration of the bankruptcy estate, or burdening the Bankruptcy Court with
21   a complex trial that turns on state law and will have no effect on the PG&E bankruptcy estate.
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 1   Dated: July 28, 2020
                                                  STOEL RIVES LLP
 2

 3                                                By:    /s/ David B. Levant
                                                         David B. Levant
 4                                                       Eric A. Grasberger
                                                         Mario R. Nicholas
 5
                                                  Attorneys for Plaintiff and Counter-
 6                                                Defendant JH Kelly, LLC
 7

 8   Dated: July 28, 2020
                                                  WEIL, GOTSHAL & MANGES LLP
 9
                                                  KELLER BENVENUTTI KIM LLP
10

11                                                By:    /s/ Peter J. Benvenutii
                                                         Theodore E. Tsekerides
12                                                       Peter J. Benvenutti
13                                                Attorneys for the Debtors and Debtors in
                                                  Possession, as Defendant and Third-Party
14                                                Defendant
15   Dated: July 28, 2020
                                                  REED SMITH LLP
16
                                                  TROUTMAN PEPPER HAMILTON
17                                                SANDERS LLP
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                                                  By:    /s/ Marsha A. Houston
19                                                       Marsha A. Houston
                                                         Christopher O. Rivas
20                                                       Marion T. Hack
                                                         Luke N. Eaton
21
                                                  Attorneys for AECOM Technical Services,
22                                                Inc.
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                                                                                                                                       CONS, WDREF, TRNSFD-IN


                                                                      U.S. Bankruptcy Court
                                                       California Northern Bankruptcy Court (San Francisco)
                                                                  Adversary Proceeding #: 20-03019

          Assigned to: Judge Dennis Montali                                                               Date Filed: 05/15/20
          Lead BK Case: 19-30088                                                                          Date Transferred: 05/21/20
          Lead BK Title: PG&E Corporation
          Lead BK Chapter: 11
          Demand:
          Nature[s] of Suit: 02 Other (e.g. other actions that would have been brought in state court if unrelated to bankruptcy)


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         San Francisco, CA 94105
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           Filing Date                   #                                                             Docket Text

                                    1                   Adversary case 20-03019. 02 (Other (e.g. other actions that would have been brought in state court if
                                    (202 pgs; 9 docs)   unrelated to bankruptcy)) Complaint by JH Kelly, LLC against AECOM Technical Services, Inc. , PG&E
                                                        Corporation , Pacific Gas and Electric Company . Fee Amount $350.00 . (Attachments: # 1 Exhibit A # 2
                                                        Exhibit B # 3 Exhibit C # 4 Exhibit C- Part 2 # 5 Exhibit D # 6 Exhibit E # 7 Exhibit F # 8 Exhibit G) (dc)
          05/15/2020                                    (Entered: 05/21/2020)

                                    2                   Adversary Cover Sheet (RE: related document(s)1 Complaint filed by Plaintiff JH Kelly, LLC). (dc)
          05/15/2020                (2 pgs)             (Entered: 05/21/2020)

                                    3
          05/18/2020                (2 pgs)             Notice of Status Conference. (dc) (Entered: 05/21/2020)

                                    4
          05/18/2020                (2 pgs)             Amended Notice of Status Conference. (dc) (Entered: 05/21/2020)

                                    5                   Stipulation Regarding Transfer of Venue of Removed Action to Northern District Bankruptcy Court
                                    (7 pgs)             Pursuant to 28 U.S.C. 1404 and 1412 Filed by Defendants AECOM Technical Services, Inc. , PG&E
                                                        Corporation , Pacific Gas and Electric Company , Plaintiff JH Kelly, LLC (RE: related document(s)1
          05/18/2020                                    Complaint filed by Plaintiff JH Kelly, LLC) . (dc) (Entered: 05/21/2020)

                                    6                   Order Transferring Venue of Removed Action (RE: related document(s)5 Stipulation Regarding Transfer
                                    (3 pgs)             of Venue of Removed Action to Northern District Bankruptcy Court Pursuant to 28 U.S.C. 1404 and 141,
                                                        filed by Defendant Pacific Gas and Electric Company, Defendant PG&E Corporation, Defendant AECOM
          05/19/2020                                    Technical Services, Inc., Plaintiff JH Kelly, LLC). (dc) (Entered: 05/21/2020)

                                    7                   Transmittal Memorandum for a Transferred Case(RE: related document(s)1 Complaint). (dc) (Entered:
          05/20/2020                (1 pg)              05/21/2020)

                                    8                   Docket Report- Eastern District of California (Sacramento) Adversary Proceeding (RE: related
                                    (2 pgs)             document(s)1 Complaint, 2 Adversary Cover Sheet, 4 Notice, 5 Stipulation for Miscellaneous Relief, 6
          05/20/2020                                    Order on Stipulation, 7 Document). (dc) (Entered: 05/21/2020)

                                    9                   Notice of Transferred Adversary Proceeding No. 20-02099-CDJ. The case was transferred from Eastern
          05/21/2020                (2 pgs; 2 docs)     District of California (Sacramento). (dc) (Entered: 05/21/2020)

                                    10                  Notice of Status Conference In A Case Removed to Bankruptcy Court Status Conference scheduled for
          05/21/2020                (1 pg)              7/21/2020 at 10:00 AM at San Francisco Courtroom 17 - Montali. . (dc) (Entered: 05/21/2020)

                                    11                  BNC Certificate of Mailing - Ntc of Transfer of Case. (RE: related document(s) 9 Notice of Transferred
          05/23/2020                (2 pgs)             Case). Notice Date 05/23/2020. (Admin.) (Entered: 05/23/2020)

                                    12                  Corrected Order Transferring Venue of Removed Action to Northern District Bankruptcy Court Pursuant to
          05/26/2020

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                           (11 pgs)         28 U.S.C 1404 and 1412 (RE: related document(s)6 Stipulation Regarding Transfer of Venue of Removed
                                            Action to Northern District Bankruptcy Court Pursuant to 28 U.S.C. 1404 and 141). (dc) (Entered:
                                            05/26/2020)

                           13               Notice Regarding Substitution of Counsel Filed by Defendant AECOM Technical Services, Inc.. (Rivas,
         06/05/2020        (2 pgs)          Christopher) (Entered: 06/05/2020)

                           14               Certificate of Service of Notice of Substitution of Counsel (RE: related document(s)13 Notice). Filed by
         06/05/2020        (3 pgs)          Defendant AECOM Technical Services, Inc. (Rivas, Christopher) (Entered: 06/05/2020)

                                            Returned Mail: Mail originally sent on 05/23/2020 returned as undeliverable. Returned Mail: The
                                            following order sent to AECOM Technical Services, Inc. 111 Pine St. San Leandro, CA 94578 on
                                            05/23/2020 was returned as undeliverable: Notice of Transferred Case (ADI Administrator court);
                                            Returned Mail: The following order sent to JH Kelly, LLC 111 Pine St. San Leandro, CA 94578 on
                                            05/23/2020 was returned as undeliverable: Notice of Transferred Case (ADI Administrator court);
         06/08/2020                         (Entered: 06/08/2020)

                           15               Stipulation, to Consolidate Adversary Proceeding No. 19-03008 with Adversary Proceeding No. 20-03019
                           (5 pgs)          Filed by Defendants PG&E Corporation, Pacific Gas and Electric Company. (Rupp, Thomas) (Entered:
         06/26/2020                         06/26/2020)

                           16               Order Approving Stipulation to Consolidate Adversary Proceeding No. 19-03008 With Adversary
                           (3 pgs)          Proceeding No. 20-03019 (RE: related document(s)15 Stipulation for Miscellaneous Relief filed by
         06/29/2020                         Defendant Pacific Gas and Electric Company, Defendant PG&E Corporation). (lp) (Entered: 06/29/2020)

                           17               Stipulation, to Adjourn July 21, 2020 Status Conference Filed by Defendants PG&E Corporation, Pacific
                           (4 pgs)          Gas and Electric Company. (Rupp, Thomas). Related document(s) 10 Notice of Status Conference.
         07/10/2020                         Modified on 7/13/2020 (myt). (Entered: 07/10/2020)

                           18               Order Approving Stipulation to Adjourn July 21, 2020 Status Conference (RE: related document(s)17
                           (3 pgs)          Stipulation for Miscellaneous Relief filed by Defendant Pacific Gas and Electric Company, Defendant
         07/13/2020                         PG&E Corporation). (myt) (Entered: 07/13/2020)

                           19               Joint Motion for Withdrawal of Reference (Joint Motion for Permissive Withdrawal of the Reference of
                           (3 pgs)          Consolidated PG&E Adversary Proceeding) Fee Amount $181. Filed by Plaintiff JH Kelly, LLC.
         07/28/2020                         (Nicholas, Mario) (Entered: 07/28/2020)

                           20               Brief/Memorandum in support of Joint Motion for Permissive Withdrawal of the Reference of
                           (11 pgs)         Consolidated PG&E Adversary Proceeding (RE: related document(s)19 Motion for Withdrawal of
         07/28/2020                         Reference). Filed by Plaintiff JH Kelly, LLC (Nicholas, Mario) (Entered: 07/28/2020)

                                            Receipt of filing fee for Motion for Withdrawal of Reference(20-03019) [motion,mwdref] ( 181.00).
                                            Receipt number 30669268, amount $ 181.00 (re: Doc# 19 Joint Motion for Withdrawal of Reference (Joint
                                            Motion for Permissive Withdrawal of the Reference of Consolidated PG&E Adversary Proceeding) Fee
         07/28/2020                         Amount $181.) (U.S. Treasury) (Entered: 07/28/2020)




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